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                                UNITED STATES DISTRICT COURT                          D1SIMCT CC 1URT
                                                                                  MIDDLE DIST. OF ALA.
                             FOR THE MIDDLE DISTRICT OF ALABAMA

FREDRIKA M MILLER,GARY L SAUER                     Case No.:

               Plaintiffs,

vs.                                                CIVIL ACTION         2:20-cv-01049-MHT-SRW

CITY AND COUNTY OF MONTGOMERY,
ALABAMA,
               Defendants

               The Plaintiffin the body ofthis complaint refers to Fredrika M Miller specifically

Gary L Sauer is Plaintiff in suit action only and as witness to actions where his name is specified.

The Plaintiff maintains that the Defendant(s) have consistently worked in organi7ed fashion to

discredit, manipulate, undermine and throw out every complaint or report the Plaintiff has ever

tried to file. The Defendant(s) have shown absolutely no reason or given any evidence to explain

their behavior. When the Plaintiff asks for clarity, documents or proof,the Defendant(s)refuse

any and all evidence explaining their behavior. The Plaintiff has called upon all agencies of

Defendant(s)including but not limited to civil, criminal and administrative branches for an

explanation for their inaction. The Defendant(s) display innuendos, make jokes and skirt around

any issues the Plaintiff is requesting assistance with, information on or protection from. The

Defendant(s) agencies laugh at the Plaintiff, play word games, attempt to have the Plaintiff and

her mother tested for mental illness as well as having them arrested and taken to mental health

facilities against their will, without ANY due course oflaw. The Defendant(s) failed to act on

dozens ofoccasions when the Plaintiffand her mother where in fear for their lives, being
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threatened with physical violence by Will Von Gal through the help of his lawyer Thomas

Gallion. The Plaintiffreported in 2013 that she was raped by Montgomery Police Department

officer, Michael McCord. Bill Barousse at City Investigations claimed he had called the Plaintiff

to tell her that the FBI had investigated the matter in a joint investigation and that no charges

would be filed as her claim was 'unfounded.' However the Plaintiff has never been asked a

single question and she was told that Internal Affairs was handling the case, a case that never

existed to her knowledge. Her claim ofrape as well as her claim of her house being maliciously

and deliberately poisoned by landscaper Michael Stroup causing the subsequent cryptogenic

liver cirrhosis, and death ofher mother Ozell Miller was never taken seriously. Michael Stroup

told the Plaintiffthat her mother would 'surely die' in the house after he used an undetermined

amount and type ofpesticides illegally on the Plaintiff's property at 3156 Cloverdale Rd.

Montgomery, Alabama 36106. The Plaintiff has also reported numerous complaints to the City

ofMontgomery, Montgomery County,the Montgomery Police Department, Alabama Law

Enforcement Agency,the Mayor's office, the Govemor's office, the Attorney General's office,

the Probate court,the Alabama Bureau ofInvestigation, the Sheriff's Office, Homeland Security,

the Bureau ofAlcohol Tobacco and Firearms, the Alabama Department of Senior Services, the

State of Alabama Department ofAgricultural and Industries, the Legal Services Office on

Domestic Violence Project, Adult Protective Services, and the Montgomery County District

Attorney's office. The-Plaintiff has also spoken directly with Clarence Pugh with the

Montgomery Area Mental Health Authority who tried to have the Plaintiff's mother committed

against her will without any legal proceedings. The Plaintiffand her mother Ozell Miller also

spoke with Patrick Roberts former Assistant Attomey General of Alabama, in his office, who

promised to help but told his office after they left to,'Weyer allow the Plaintiffto call or come

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 1   back on the premises again." He gave no reason and only claimed it was a personal decision
 2
     without merit. He had Bill Summers, special agent, sit in on the meeting while the Plaintifftold

     them about Will von Gal and the threats against the Plaintiffand her mother. Mr. Summers reply
4
     to the meeting was to laugh, scoff and say that "He might also be a psychopath," speaking about
5

6    himself. The Plaintiff also spoke to Joy Patterson, Leslie Worrell and Allegra Smith who would

7    consistently hang up on the Plaintiffand informed her staffto do the same. The Plaintiff also
 8
     spoke with the Alabama Insurance Commissioner,Jim L. Ridling. He told the Plaintiffthat
9
     Allstate, Arthur J Gallagher/Whitehaven Insurance did nothing wrong. He came to this
10
     conclusion without reviewing a single word ofthe complaints filed by the Plaintiff The Plaintiff
11

12   also called the Alabama Ethics Commission and spoke with James L. Sumner and he refused to

13   help and was audibly shaken when the Plaintiff mentioned Will von Gal, Tommy Gallion and
14
     specifically Buddy Mitchell's names. Mr. Sumner immediately told the Plaintiffthat "This
15
     conversation never happened," and hung up on the PlaintifE The Plaintiff also contacted the One
16
     Place Justice Center who offered a promise of assistance but the help was immediately rescinded
17

18   when the names Will von Gal and Tommy Gallion were mentioned. The Plaintiff also contacted

19   the Sunshine Center and was promised help until the name Will von Gal and Tommy Gallion
20
     were mentioned. A case manager Jacqueline, called the Plaintiff and told her that Assistant
21
     District Attorney Daryl Bailey wanted to set up dinner with him to discuss things "In private."
22
     The Plaintiffrefused his advances.
23

24    The Plaintiff was contacted by Mayor Todd Strange to have a private dinner meeting with him

25   as well at the Eastside Grille in 2012. The Plaintiff refused. Montgomery County Commissioner
26
     Dimitri Polizos tried to get the Plaintiffto have a private dinner meeting with his father Gus
27
     Polizos on Valentines Day 2012. The Plaintiffrefused that meeting also and was told by a family
28
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friend that Dotty Polizos and Jolene Gogan(Comeau)liked to "order hits" on people and that

they liked it. The Plaintifftook this as a direct threat by the Commissioner and his family.

Throughout the twenty plus years starting in the late 1990's the Plaintiffand her mother Ozell

Miller made dozens ofattempts to get help from authorities ofthe City of Montgomery, Alabam

but were never offered any help. The Plaintiff was consistently passed off, transferred, laughed a

and treated unprofessionally whenever she tried to get assistance with any agency connected

with the city, county or state. The Plaintiff sought the direction and retained several attorneys in

attempts to get help from these same agencies but ultimately was taken advantage of, dragged

through the system and told to never try to get help from the city, county and state in

Montgomery, Alabama. The Plaintiffand her mother were told by attorneys there was a

deliberate campaign to directly affect the outcome ofany legal proceedings. The attorneys also

explained there was a 'red flag' on their names with the City and County of Montgomery,

Alabama. The Plaintiff was also told specifically by a local man Keith Wideman as well as an

`unknown caller' that she would never again win a circuit court case in Alabama. The Plaintiff

has asked repeatedly for the agents ofthe City ofMontgomery,the County of Montgomery and

the State ofAlabama to open an investigation into the poisoning of her mother Ozell Miller. The

Plaintiff made numerous phone calls while in Alabama.

 The Plaintiff made phone calls from her mother's hospital room in California at UCLA Medical

Center as well as Cedar Sinai requesting the agents ofthe MPD,ALEA and the FBI come take a

statement. Agents for the Defendant(s)refused every single time_ The Defendants always acted

unprofessionally, made promises to help or 'look in to it' and 'follow up' but they never did. The

Plaintiff waited by the phone for over a week because an officer at MPD told her he would `get

to the bottom' of why the Defendant(s) would not file a report for the Plaintiff. The Defendant(s)

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 1   would refuse to talk with the Plaintiffand her mother every single time after any initial contact
 2
     made by the Plaintiff giving no explanation or alternate resource to file charges or claims.
 3
      After the Plaintiff's mother Ozell Miller passed away from cryptogenic cirrhosis ofthe liver
4
     induced by chemicals(see death certificate and autopsy report)the Plaintiff came back to
5

6    Alabama and found her 3156 Cloverdale Montgomery, Alabama home boarded up. The Plaintiff

7    then found a condemned notice affixed to the front door by the City of Montgomery, signed by
 8
     James McConnell. Upon inspection ofthe premises the Plaintiff found the interior completely
9
     destroyed and all oftheir belongings stolen and/or destroyed. The Plaintiffs mother's car was
10
     also gone from the property and witnesses who lived nearby explained that the house was being
11

12   used as a Meth lab. The neighbors called the MPD,agents ofthe City and County of

13   Montgomery. When the MPD arrived at the address they spoke with the suspects while they
14
     were loading a truck with items they were stealing from the home. The suspects, Thomas Ryan
15
     and James Richard Hanson were never apprehended or charged and were allowed to continue
16
     burglarizing the premises with the full knowledge ofthe MPD's agents on scene. One witness,
17

18   Kathryn Mellini presented the MPD's agents with video evidence as well as the names ofthe

19   people burglarizing the Plaintiff's house but the agents ofthe City and County ofMontgomery,
20
     Montgomery Police Department claimed that nothing could be done to stop the criminals
21
     because the owners ofthe residence were not present nor were they reporting the crime so no
22
     action could be taken. Upon hearing the refusal ofthe MPD to file a report or stop the burglary,
23

24   the Plaintiff again called the MPD and reported the crime. The MPD sent one officer to take a

25   statement and file a report. The officer refused to write it claiming it was too long ofa report and
26
     that the Plaintiff would have to go to the MPD's address at 2190 E. South Blvd Montgomery,
27
     Alabama to file the report in person. The Plaintifffiled the report numbered #2018-00249505.
28
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This report has never been followed up on or resolved. No one was ever questioned or arrested.

The Plaintiffthen reported to the MPD at 301 N.Ripley to again file a stolen car report for her

deceased father's Triumph TR7.But the officers told the Plaintiffthey could not file the report

because they would not want to jeopardize an officer's life by pulling over the car if it ever was

found on the street operating. The Plaintiff and her witness Gary Sauer asked what the agents of

the Defendant(s) meant by that cryptic statement. The MPD officer refused to answer at the

request ofa third supervising officer that showed up on scene. The supervisor explained that the

Plaintiff would have to take it up with the detectives next door to the station. He said the Plaint

could only show up on a Monday after 10 am when the detectives were 'in a good mood.' The

Plaintiff had already spoken with the detectives at their 301 N. Ripley facility and Sgt. Capps

said they could not help because they are in property crimes. This statement did not make any

sense because the Plaintiff was reporting a property crime, personal property. The Plaintifftried

to report the auto theft several years earlier in 2014 when it was stolen out ofa storage unit at

Smart Shop Storage at 6010 Monticello Dr. Montgomery, Alabama 36117. When the Plaintiff

tried to report the crime originally at the storage facility in 2014,two officers arrived to process

the scene. One was named Officer Mayfiekl_ Upon further intensive questioning by the two

officers they were made aware by the Plaintiff's mother that the Plaintiff was raped by an MPD

officer. The two officers stopped processing the scene and called in a supervisor who showed up

moments later. The supervisor told the officers to leave and then refused to file a report offering

no explanation and abruptly left the premises after he found out the officers name who

committed the rape, Officer Michael McCord. The same scenario happens nearly every time a

male MPD officer finds out about the rape incident from the Plaintiff.



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  The Plaintiffthen went to the Probate courts office to find out the disposition ofher and her

mother's property at 3156 Cloverdale Rd. The Plaintiff was referred to the Montgomery County

Revenue Commissioner's office where the Plaintiff was told that the tax exempt status had been

removed from the premises and that the property was sold for non-payment oftaxes while the

Plaintiff and her mother were in California for two years receiving medical treatment. The

Plaintiff was in contact with the city and county offices, the FBI,the MPD,ALEA and other

individuals employed by the city, county and state like AG Steve Marshall's office and Probate

Court Judge Steve Reed. The Plaintiff was concemed about the disposition of her property as

well as trying to get justice for her mother's poisoning at the hands ofMichael Stroup. No

official told the Plaintiffa single word about her property being injeopardy and that no taxes

were owed only some lawn cutting fees. Not one ofthe agents ofthe Defendant(s) ever tried to

start an investigation into the burglary, theft ofproperty, death threats by Will von Gal,

poisoning of her property, herselfand mother Ozell, rape by Officer Mile McCord or subsequen

loss ofher house and the contents therein. The Defendant(s) were given every opportunity to

answer charges, questions, file reports and explain their actions however not a single one ofthem

ever treated the Plaintiff like a citizen of Montgomery should be treated. The Plaintiff and her

witness to the Defendant(s)recent actions, Gary Sauer, have written countless requests for

meetings with every agent ofthe Defendant(s) listed in this complaint. The Plaintiff has written

numerous testimonies, letters, queries, informational and detailed timelines of all ofthe

Plaintiff's encounters with every agent ofthe Defendant(s) and has only received one reply. City

Investigations granted a request for one meeting in the Spring of2020 the day before the

lockdown started in the Covid pandemic. The Plaintiff was hundreds of miles away at the time

and tried to reschedule an in person appointment for the following Monday however the request

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was denied by the Defendant(s) City Investigations Office because no face to face contact was

being allowed the two short days later when the Plaintiff could get back into Montgomery. The

agents for the Defendant(s) City Investigations also explained any meeting could only address

administrative issues and no 'criminal' actions could be discussed. The agent for the

Defendant(s) City Investigations offered a phone interview only and the Plaintiff explained that

she would need to meet in person as she has countless pieces ofevidence to share while

discussing numerous problems she had encountered. City Investigations sent a small letter to the

3156 Cloverdale address explaining that they had 'closed the case' because the Plaintiff didn't

show up for the intended meeting and that they considered the matter handled. The agent for the

Defendant(s)knew the Plaintiff was not residing at the address and that she was staying

hundreds of miles away, due to safety concerns and death threats she was receiving from Will

von Gal. She did not have access to her mail since the mailbox was also removed from the

premises. It wasn't until a month or more later that the Plaintiff put up a new secure locked

mailbox at the property and had the USPS start sending mail to that address again that the letter

was finally received. However by this time it was too late.

While on the West coast the Plaintifftried to report the behavior ofthe Defendant(s),the City

and County of Montgomery and its agents to authorities there. The Plaintiff also tried to report

crimes there that had transpired over the past decade that the Defendant(s) had systematically

refused to take reports on while the Plaintiff was in Alabama_ While visiting Gary Sauer in

Nevada,the Las Vegas Metro Police Department wrote two separate courtesy complaints for the

Plaintiff. The first one charging Officer Michael McCord ofthe MPD with rape and complaining

that the Defendant(s)refused to hear her complaints or file any reports. While there the Plaintiff

also visited the offices ofthe FBI in Las Vegas to report the crimes committed against her and

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her mother as she could not get any help from any agency while in Alabama. The FBI in Las

Vegas told the Plaintiffthat her problem is with Alabama and to secure a lawyer to handle it but

the Plaintiff had no ability to hire a lawyer at that time nor was she in a position to travel back to

Alabama with her mother Ozell Miller still in the middle ofintensive treatments in Los Angeles.

The second time the Plaintiff was in Nevada she filed the second report number

#LLV200100031928 charging Michael Stroup with poisoning her and her mother Ozell and had

the LVMPD send the report to Alabama. This time it was much more difficult to get the LVMPD

to cooperate and take the report claiming it was solely the responsibility of Alabama and that the

Defendant(s)should be doing their job. The LVMPD took her report seriously,'a behavior the

Plaintiff was not at all used to. The Plaintiff has come to the conclusion that the Defendant(s) are

directly working against her motivated by an unknown reason. The Plaintiff has asked the

Defendant(s)on multiple occasions why she is refused the same service she gets in other states

and the general population ofAlabama gets normally as citizens. The Plaintiff has requested

records,information, reports and data from all agencies ofthe Defendant's and is met with direct

and deliberate stonewalling. The Plaintiffis refused any documents that are available to the

general public and is treated with callousness and negative replies.

  When the Plaintiff went to meet with the detectives at the Montgomery Police Department to

file the report with property crimes and to try yet again to file her rape report with the

Defendant(s)judicial system Officer Capps told her specifically she was "Unfoundecr'. This

statement was made in front ofthe witness Gary Sauer as well. Both the Plaintiff and witness

Sauer asked how that could be and Sgt. Capps said he could not tell them,that they should just

understand that ajoint investigation had been completed by the MPD with the FBI and that they

could find no reason to file any charges against a fine upstanding retired officer with the

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 1   Defendant(s) agency. fle also stated that since it was an internal affairs investigation that the
2
     Plaintiff was not allowed to have access to any ofthe investigatory data. Sgt. Capps then made a
3
     cryptic claim that there was some kind ofunderlying issue that they were aware of, the Plaintiff
4
     was aware ofand that they didn't want to speak about it in a public setting. Sgt. Capps refused to
5

6    explain himselfin front ofthe witness Gary Sauer while in the lobby ofthe Montgomery Police

7    Department and refused to allow the Plaintiff or her witness Gary Sauer access to any files or an
8
     explanation or proofof what the detective was talking about. The Plaintiffthen asked how they

     could do an investigation when no agent ofthe Defendant(s) ofany kind contacted the Plaintiff
10
     for an interview or evidence. The Plaintiff was never asked a single question related to her rape
11

12   by Officer McCord even though the Plaintiff has overwhelming evidence ofthe rape. The

13   Plaintiff has been trying to report the rape since 2013. The Montgomery Police Department,
14
     agent for the Defendant(s) has refused to file any public report thus naaking it impossible for the
15
     Plaintiffto plead her case in open court and forcing any restrictions to reporting the manner past
16
     any Statute ofLimitations that exist in Alabama. Until the crime is taken seriously it is submitted
17

18   here that the crime has not yet been legally challenged by the Defendant(s) and the Plaintiff still

19   has the legal right to be heard in open court.
20
      As for the matter ofthe poisoning ofthe Plaintiff and her mother Ozell Miller on their property
21
     at 3156 Cloverdale Rd Montgomery, Alabama 36106 by Michael Stroup it too has yet to have its
22
     day in court. The Plaintiff has witnesses, documentation, autopsy and medical reports from
23

24   California as well as personal physicians here in the State of Alabama. No police report has ever

25   been written, investigated or challenged by the Defendant(s) or any ofits agents. The Plaintiff
26
     has never been allowed to effectively enter into exhibit any evidence collected by her over the
27
     course ofthe past 11 years since the poisoning on September 17-18, 2009. No witnesses have
28
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been called, no investigation started and no report filed. No case number has ever been entered

into any log with the Defendant(s)or any ofits agencies. The Plaintiff has been treated as if

anything she tries to report is false and with prejudice the Defendant(s) agents refuse to even

hear her claims or document them legally. The Plaintiff's basic civil rights have been stripped

away and her ability to report even an auto theft or trespassing crime to the MPD has been

forever removed. While in California with her mother the Plaintiffcalled the Defendant(s)on

numerous occasions asking for a statement to be taken in regards to the poisoning in Alabama.

One officer with ALEA took one call seriously when the call was made by Gary Sauer, the

Plaintiff's witness. As Mr. Sauer described the situation to the officer over the phone from Ozell

Miller's ICU room at UCLA the officer asked if Will von Gal had paid Michael Stroup to poison

the Plaintiff and her mother. When Mr. Sauer tried to explain further the officer abruptly hung up

the phone claiming there was an emergency in the precinct and that he would get back to Mr.

Sauer after a while or the next day. He never retumed any phone calls even with numerous

messages being left at the statiom At another time officer Sgt. Capps seemed concerned that the

Plaintiff had received no support from the Defendant(s) and said he would call back within a few

days telling her to 'Wait by the phone, don't worry everything is going to be ok after speaking

with his office and supervisors' as noted earlier in this complaint. After waiting by the phone for

a week the Plaintifftried to call the number back several times leaving messages for the officer

from California. Within a day or two oftrying to retum the calls to the officer or to get someone

from that office on the phone,the number stopped working. It was acting like a blocked number.

Neither the Plaintiffs phone or Mr. Sauer's phone was able to complete a call to the number

given to them by the officer himself. The Plaintiff then tried calling other numbers at the station

and they went through fine. Then the Plaintiff and Mr. Sauer went to a phone booth and tried to

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call the number, it went through and the Plaintiff again left a message that was not returned. This

pattern repeated itself even after returning to Alabama in February and throughout 2020. The

Plaintiffand Gary Sauer have gone to great lengths to gain access to police reports,

documentation, lists, phone records,FBI records, insurance records, hospital records and tax

records. The Plaintiff has asked daily for help from nearly every single agent ofthe Defendant's

since returning to Alabama after her mother Ozell Miller's death on December, 25th.2019.

 Now a sense ofextreme urgency is prevalent as the anniversary ofOzell's passing is

approaching and the Plaintiff's legal options to file wrongful death lawsuits diminishes without

the Defendant's direct assistance in extending those parameters. The Plaintiff is unsure the

Defendant(s) will act appropriately in this matter and a date that is approaching will pass and the

Plaintiff will have received the same lack oftreatment the Defendant(s) have exhibited over the

past two decades. So this complaint comes before the United States District Court for the

Middle District ofAlabama stating that the Plaintiffs constitutional rights to protection have

been violated by the City and County ofMontgomery, Alabama. The Plaintiff has been denied

her right to a fair trial and has been denied her rights within the Violence Against Woman Act of

1994(18 U.S.C. § 2261(a)(1) and (2)).




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   1                    COUNT 1. - DERELICTION OF DUTY CAUSING DEATH
  2
        Ninth Amendment violation. Defendant(s) and its agents refused to perform their
  3    duties on numerous occasions leaving the Plaintiff and her mother in danger of threat
  4    for her life and bodily harm causing her death.

  5         COUNT 2 - FAILURE TO PROTECT PLAINTIFF'S CONSTITUTIONAL RIGHTS
  6
       Thirteenth Amendment violation. Defendants refused to protect the Plaintiff and her
  7    mother against violations by Will von Gal of her civil rights by city, county and state
  8    departments. Forcing the Plaintiff across state lines and causing severe permanent
       physical, emotional damage and death violating the Violence Against Women Act of
  9
       1994(18 U.S.C. § 2261(a)(1) and (2)).
  10
            COUNT 3 - FAILURE TO PROTECT PLAINTIFFS CONSTITUTIONAL RIGHTS
  11

  12    Fourth Amendment violation. Defendants did unlawfully remove the Plaintiffs
       mother from her home at 3156 Cloverdale Rd. Montgomery, Alabama and brought to
  13
       Jackson Hospital with an intention to commit her to the State Mental Institution at
  14   Tuscaloosa without a fair trial. The Defendants intended to speed the induction process
       in order to detain her before she had her court appearance.
  15

  16                COUNT 4 - FAILURE TO UPHOLD CONSTITUTIONAL RIGHTS
  17
        Fifth Amendment violation. The Defendants did not give the Plaintiff a speedy and
  18   public trial. The Defendants did not give the Plaintiff the right to be heard, evidence,
       reports, documents or files explaining reasons for refusal to assist and allow the Plaintiff
  19
       with her pursuit of lawful justice.
 20
         COUNT 5 — FAILURE TO PROTECT THE RIGHT TO PETITION THE GOVERNMENT
 21

 22     First Amendment violation. The Defendant(s) have denied the Plaintiffs right to
       petition government for redress of grievances and the right to make a complaint to, or
 23
       seek the assistance of, one's government, without fear of punishment or reprisals.
 24
             COUNT 6 — FAILURE TO PROVIDE EQUAL PROTECTION UNDER THE LAW
 25

 26     Fourteenth Amendment violation Plaintiff and her mother Ozell Miller are
 27
       Muskogee American Indians and were denied equal protection under the law to protect
       their civil rights. The Plaintiff asked for the Defendant(s) and its agents to protect her
\ 28   against threats of bodily harm, death threats and intentional infliction of emotional
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distress.

      COUNT 7 — FAILURE TO PROVIDE EQUAL PROTECTION UNDER THE LAW

  Fourteenth Amendment violation Plaintiff has clinically diagnosed Complex Post
Traumatic Stress Disorder and was denied equal protection under the law to protect her
civil rights. The Plaintiff asked for the Defendant(s) and its agents to protect her against
threats of bodily harm, death threats and intentional infliction of emotional distress.

      COUNT 8 — FAILURE TO PROVIDE PROTECTION TO A DISABLED PERSON

  Fourteenth Amendment violation. Plaintiff has clinically diagnosed Complex Post
Traumatic Stress Disorder and was denied equal protection under the law to protect her
civil rights under the Equal Protection Clause. The Defendant(s) and their agents denied
the Plaintiff fair housing and living conditions free from threat of bodily harm and death
when called upon to remedy illegal acts committed on and around their property at
3156 Cloverdale Rd Montgomery, Alabama. 36106 address. Americans with Disabilities
Act of 1990 or ADA (42 U.S.C.§ 12101).

                                           DAMAGES

 $18,000,000 +legal and medical expenses from 2003 to present. Return Plaintiffs
property to her at 3156 Cloverdale Rd that was sold illegally in a tax sale and return it to
tax exempt status. Return the Plaintiffs property at Beachcomber #106 105 E 4th St Gulf
Shores Alabama and return both properties to their original living condition.

              Dated this 16th ofDecember,2020_

                                                 Grkum      ri\
                                                  Fredrika M Nller




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